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           United States Court of Appeals
                for the Fifth Circuit                               United States Court of Appeals
                                                                             Fifth Circuit

                               ___________                                 FILED
                                                                    December 1, 2023
                                No. 23-50632                          Lyle W. Cayce
                               ___________                                 Clerk

United States of America,

                                                           Plaintiff—Appellee,

                                    versus

Greg Abbott, in his capacity as Governor of the State of Texas; State
of Texas,

                                        Defendants—Appellants.
                 ____________________________

                Appeal from the United States District Court
                     for the Western District of Texas
                          USDC No. 1:23-CV-853
                 ____________________________

Before King, Willett, and Douglas, Circuit Judges.

                             JUDGMENT

       This cause was considered on the record on appeal and was argued by
counsel.
       IT IS ORDERED and ADJUDGED that we DISSOLVE the
administrative stay and AFFIRM.
       IT IS FURTHER ORDERED that defendants-appellants pay to
plaintiff-appellee the costs on appeal to be taxed by the Clerk of this Court.
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Don R. Willett, Circuit Judge, dissenting.




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